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                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

IN RE: V.R. KING CONSTRUCTION, LLC  )
                                    )
DEBTOR                              )                   CHAPTER 11 CASE NO.: 18- 31635
                                    )
Y2 YOGA COTSWOLD, LLC               )
            Plaintiff,              )
                                    )                      ADV. PROC. NO.: 19-03047
V.                                  )
VINROY W. REID, V.R. KING           )
CONSTRUCTION, LLC                   )
A. BURTON SHUFORD CHAPTER 7 TRUSTEE )
FOR V.R. KING CONSTRUCTION, LLC     )
AND VINROY REID                     )
                                    )
            Defendants.             )



                        DESIGNATION OF RECORD ON APPEAL

NOW COMES, Defendant-Appellant, VR King Construction, LLC (hereinafter "Appellant” or
“Defendant") and shows unto this Court its Designation of The Record on Appeal and states as
follows:

       1. That the Defendant-Appellant filed a Chapter 11 Bankruptcy proceeding on October
31, 2018 Case No 18-31635. Doc#1


       2. The Plaintiff-Appellee Y2 Yoga Cotswold, LLC filed Adversary Proceeding case 19-
03047, Complaint for Declaratory Relief to Confirm Validity, Priority and Extend of Liens on Real
Property and Allow Charges Pursuant to 11 U.S.C. 506(b). Docket #1

       3. Defendant-Appellant filed its answer on October 22, 2019. Docket #11


       4. Defendant A. Burton Shuford filed its Answer on October 24, 2019. Docket #12

      5. On April 4, 2020, Plaintiff-Appellee Y2 Yoga Cotswold, LLC filed a Motion for
Judgment on the Pleadings, Alternative Motion for Summary Judgment. Docket #17

      6. On April 16, 2020, Defendant A. Burton Shuford filed his Second Motion to Dismiss
Adversary Proceeding. Docket #20

       7. On April 28, 2020, Defendant A. Burton Shuford filed Trustee Motion for Judgment
on the Pleadings, Alternative Motion for Summary Judgment. Docket #24
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       8. On April 29, 2020, Defendant-Appellant filed its Response in Opposition to Plaintiff-
Appellee Y2 Yoga Cotswold, LLC’s Motion for Judgment on the Pleadings, Alternative Motion
for Summary Judgment. Docket #25

      9. On April 29, 2020, Plaintiff-Appellee Y2 Yoga Cotswold, LLC filed its Response to
Motions to Dismiss filed by Defendant A Burton Shuford. Docket #26

       10. On April 30, 2020, Plaintiff-Appellee Y2 Yoga Cotswold, LLC filed Affidavit,
Verification on Pleading and Declaration Under Penalty of Perjury. Docket #28

       11. On May 1, 2020, Defendant A. Burton Shuford filed its Brief in Support of its Motion
to Dismiss. Docket #32

        12. On May 1, 2020, Plaintiff-Appellee Y2 Yoga Cotswold, LLC filed its Brief in Support
of it Motion for Judgment on the Pleadings, Alternate Motion for Summary Judgment. Docket #34

       13. On May 4, 2020, Plaintiff-Appellee Y2 Yoga Cotswold, LLC filed Affidavit,
Verification on Pleading and Declaration Under Penalty of Perjury of Tanner Bazemore. Docket
#36

      14. On May 4, 2020, Defendant A. Burton Shuford filed its Reply Brief in Support of its
Motion to Dismiss. Docket #38

       15. On May 4, 2020, Defendant-Appellant filed its Response to Brief Filed by Plaintiff-
Appellee Y2 Yoga Cotswold. LLC. Docket #39

        16. On May 4, 2020, Plaintiff-Appellee Y2 Yoga Cotswold, LLC filed its Response to
Brief of Defendant A. Burton Shuford. Docket #40

       17. On May 18, 2020, Defendant-Appellant filed its Motion for Judgment on the Pleadings
Alternative Motion for Summary Judgment. Docket #49

       18. On May 29, 2020, Defendant A. Burton Shuford filed its Supplemental. Docket #51

       19. On May 29, 2020, Defendant-Appellant filed its Motion Memorandum in Support of
its Motion to Dismiss. Docket #52

        20. On May 29, 2020, Defendant-Appellant filed its Supplemental Brief in Opposition
Plaintiff-Appellee Y2 Yoga Cotswold, LLC Motion for Judgment on the Pleadings, Alternative
Motion for Summary Judgment. Docket #53

        21. On May 29, 2020, Plaintiff-Appellee Y2 Yoga Cotswold, LLC filed its Supplemental
Brief. Docket #54

       22. On June 5, 2020, Defendant A. Burton Shuford filed Reply Brief. Docket #57

       23. On June 8, 2020, Plaintiff-Appellee Y2 Yoga Cotswold, LLC filed its Response to
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Defendant VR King Construction. LLC’s Judgment on the Pleadings, Memorandum in Support of
Motion to Dismiss; Memorandum of Law of Regarding Whether US Bankruptcy Code Section
506 Allows Y2 Yoga Recovery of Attorney Fees and If So to What Extent; Further Response and
Supplemental Brief and Reply Briefs of Defendant A. Burton Shuford Trustee For VR King
Construction, LLC and Brief by Defendant A. Burton Shuford. Doc #58

       24. On June 19, 2020 the Court held a hearing on Plaintiff-Appellee Y2 Yoga Cotswold,
LLC filed a Motion for Judgment on the Pleadings, Alternative Motion for Summary Judgment.

       25. On June 19, 2020, the Honorable Laura T. Beyer Granted in Part/Denied in Part as Not
ripe: Y2 Yoga Cotswold, LLC; Y2 Yoga Cotswold, LLC to File Amended Proof Of Claim by
7/20/2020, Objections with Notice of a Hearing Are Due By 7/20/2020.

       26. On June 19, 2020, the Honorable Laura T. Beyer Denied Defendant A Burton
Shuford’s Motion to Dismiss.

       27. On June 19, 2020, the Honorable Laura T. Beyer Denied Appellant-Defendant V.R.
King’s Motion to Dismiss.

       28. On December 2, 2020, the Honorable Laura T. Beyer issued Memorandum Opinion
and Order Granting in Part Plaintiff’s Motion for Summary Judgment; Denying Defendants’
Motion to Dismiss; Motions for Judgment in the Pleadings and Alternative Motions for Summary
Judgment; Deferring Ruling on Certain Issues Pertaining to 11 U.S.C. 506(B); and Setting
Deadlines for Filing Proof of Claims And Any objections Thereto. Docket #62

       29. On December 14, 2020, Defendant-Appellant filed its Motion to Reconsider. Docket
#63.
      30. On January 13, 2021, Plaintiff-Appellee Y2 Yoga Cotswold, LLC filed its Response
and Objection to Motion for Reconsideration, Docket#66.

      31. On January 29, 2021, Plaintiff-Appellee Y2 Yoga Cotswold, LLC filed its Amended
And Supplemental Declarations of David Guidry. Docket#67.

      32. On February 2, 2021 the Honorable Judge Laura T Beyer denied Appellant-
Defendant’s Motion to Reconsider.

       33. On February 18, 2021 the Honorable Judge Laura T Beyer entered an order denying
Appellant-Defendant’s Motion Requesting Reconsideration. Docket #76

      34. On March 4, 2021, Appellant-Defendant filed its Notice of Appeal on March 4, 2021.
Docket #77

      35. That pursuant to Rule 8006 Appellant is allowed fourteen (14) days to file the
Designation of the Record on Appeal after filing their Notice of Appeal.

           The Record includes the following:
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      a. Adversary Proceeding case 19-03047, Complaint for Declaratory Relief to Confirm
         Validity, Priority and Extend of Liens on Real Property and Allow Charges
         Pursuant to 11 U.S.C. 506(b) filed on August 23, 2019. Docket #1

      b. Defendant-Appellant’s Answer filed on October 22, 2019. Docket #11


      c. Defendant A. Burton Shuford’s Answer filed on October 24, 2019. Docket #12

      d. Plaintiff-Appellee Y2 Yoga Cotswold, LLC’s Motion for Judgment on the
         Pleadings, Alternative Motion for Summary Judgment filed a on April 4, 2020,
         Docket #17

      e. Defendant A. Burton Shuford’s Second Motion to Dismiss Adversary Proceeding
         filed his on April 16, 2020. Docket #20

      f. Defendant A. Burton Shuford, Trustee’s Motion for Judgment on the Pleadings,
         Alternative Motion for Summary Judgment filed on April 28, 2020. Docket #24

      g. Defendant-Appellant’s Response in Opposition to Plaintiff-Appellee, Y2 Yoga
         Cotswold, LLC’s Motion for Judgment on the Pleadings, Alternative Motion for
         Summary Judgment filed on April 29, 2020. Docket #25

      h. Plaintiff-Appellee Y2 Yoga Cotswold, LLC’s Response to Motions to Dismiss filed
         by Defendant A Burton Shuford filed on April 29, 2020. Docket #26

      i. Plaintiff-Appellee Y2 Yoga Cotswold, LLC’s filed Affidavit Verification on
         Pleading and Declaration Under Penalty of Perjury filed on April 30, 2020. Docket
         #28

      j. Defendant A. Burton Shuford’s Brief in Support of its Motion to Dismiss filed on
         May 1, 2020. Docket #32

      k. Plaintiff-Appellee Y2 Yoga Cotswold, LLC’s Brief in Support of it Motion for
         Judgment on the Pleadings, Alternate Motion for Summary Judgment filed on May
         1, 2020,. Docket #34

      l. , Plaintiff-Appellee Y2 Yoga Cotswold, LLC’s Affidavit, Verification on Pleading
         and Declaration Under Penalty of Perjury of Tanner Bazemore filed on May 4,
         2020. Docket #36

      m. Defendant A. Burton Shuford filed its Reply Brief in Support of its
         Motion to Dismiss filed on May 4, 2020. Docket #38

      n. Defendant-Appellant filed its Response to Brief Filed by Plaintiff-
         Appellee Y2 Yoga Cotswold. LLC filed on May 4, 2020,. Docket #39
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      o. Plaintiff-Appellee Y2 Yoga Cotswold, LLC’s Response to Brief of Defendant A.
         Burton Shuford filed on May 4, 2020. Docket #40

      p. Defendant-Appellant’s Motion for Judgment on the Pleadings Alternative Motion
         for Summary Judgment filed on May 18, 2020. Docket #49

      q. Defendant A. Burton Shuford’s Supplemental Bried filed on May 29, 2020. Docket
         #51

      r. Defendant-Appellant’s Memorandum in Support of its Motion to
         Dismiss filed on May 29, 2020. Docket #52

      s. Defendant-Appellant’s Supplemental Brief in Opposition Plaintiff-Appellee Y2
         Yoga Cotswold, LLC Motion for Judgment on the Pleadings, Alternative Motion
         for Summary Judgment filed on May 29, 2020. Docket #53

      a. Plaintiff-Appellee Supplemental Brief filed On May 29, 2020. Docket #54

      b. Defendant A. Burton Shuford Reply Brief filed On June 5, 2020,. Docket #57

      c. Plaintiff-Appellee Y2 Yoga Cotswold, LLC’s Response to Defendant VR King
         Construction. LLC’s Judgment on the Pleadings, Memorandum in Support of
         Motion to Dismiss; Memorandum of Law of Regarding Whether US Bankruptcy
         Code Section 506 Allows Y2 Yoga Recovery of Attorney Fees and If So to What
         Extent; Further Response and Supplemental Brief and Reply Briefs of Defendant
         A. Burton Shuford Trustee For VR King Construction, LLC and Brief by Defendant
         A. Burton Shuford filed on June 8, 2020. Doc #58


      d. Transcript of hearing held on June 19, 2020, by the Honorable Laura T. Beyer
         Granting in Part/Denying in Part as Not ripe: Y2 Yoga Cotswold, LLC; Y2 Yoga
         Cotswold, LLC to File Amended Proof Of Claim by 7/20/2020, Objections with
         Notice of a Hearing Are Due By 7/20/2020; Denying Defendant A Burton
         Shuford’s Motion to Dismiss; and Denying Appellant-Defendant V.R. King’s
         Motion to Dismiss;

      e. The Honorable Laura T. Beyer’s Memorandum Opinion and Order Granting in Part
         Plaintiff’s Motion for Summary Judgment; Denying Defendants’ Motion to
         Dismiss; Motions for Judgment in the Pleadings and Alternative Motions for
         Summary Judgment; Deferring Ruling on Certain Issues Pertaining to 11 U.S.C.
         506(B); and Setting Deadlines for Filing Proof of Claims And Any objections
         Thereto filed on December 2, 2020. Docket #62

      f. Defendant -Appellant’s Motion to Reconsider filed on December 14, 2020. Docket
         #63

      g. Plaintiff-Appellee Y2 Yoga Cotswold, LLC its Response and Objection to Motion
         for Reconsideration filed on January 13, 2021. Docket#66.
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           h.   Plaintiff-Appellee Y2 Yoga Cotswold, LLC’s Amended And Supplemental
                Declarations of David Guidry filed on January 29, 2021. Docket#67.

           i. Honorable Judge Laura T Beyer Order Denying Appellant-Defendant’s Motion
              Requesting Reconsideration entered on February 18, 2021. Docket #76

           j. Notice of Appeal filed on March 4, 2021. Docket #77

      That pursuant to Rule 8006 Appellant is allowed fourteen (14) days to file the
Designation of the Record on Appeal after filing their Notice of Appeal.


       This the 18th day of March, 2021,

                                                   THE LEWIS LAW FIRM, PA.

                                                   /s/Robert Lewis, Jr.
                                                   ROBERT LEWIS, JR.
                                                   Attorney for Debtor
                                                   NC Bar # 35806
                                                   PO BOX 1446
                                                   Raleigh, NC 27602
                                                   Telephone: 919-719-3906
                                                   Facsimile: 919-5739161
                                                   rlewis@thelewislawfirm.com
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                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
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IN RE: V.R. KING CONSTRUCTION, LLC  )
                                    )
DEBTOR                              )                    CHAPTER 11 CASE NO.: 18- 31635
                                    )
Y2 YOGA COTSWOLD, LLC               )
            Plaintiff,              )
                                    )                       ADV. PROC. NO.: 19-03047
V.                                  )
VINROY W. REID, V.R. KING           )
CONSTRUCTION, LLC                   )
A. BURTON SHUFORD CHAPTER 7 TRUSTEE )
FOR V.R. KING CONSTRUCTION, LLC     )
AND VINROY REID                     )
                                    )
            Defendants.             )



                                CERTIFICATE OF SERVICE

          I hereby certify that I this day have served a copy of former Counsel for the Debtor's
                             DESIGNATION OF RECORD ON APPEAL

       To all the other parties listed below electronically via CM/ECF, e-mail or by depositing a
copy thereof in an envelope bearing sufficient postage in the United States mail, as indicated
below, this 18th day of March, 2021.

   Shelley K. Abel
   Bankruptcy Administrator (via ECF)
   402 West Trade Street
   Suite 200
   Charlotte, NC 27601
   Tel: 704-3507590
   Fax: 704-344-6666

   James H. Henderson (via ECF)
   1120 Greenwood Cliff
   Charlotte NC 28202-2826
   Tel: 704-333-3444
   Fax: 704-333-5003

   A.Burton Shuford (via ECF)
   4700 Lebanon Road, Suite A-2
   Mint Hill, NC 28227
   Tel: (980) 321-7005
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 Fax: (704) 943-1152

 Vinroy W. Reid (via U.S. Mail)
 P.O. Box 5035
 Charlotte, North Carolina 28229


    This the 18th day of March, 2021,

                                            THE LEWIS LAW FIRM, PA.

                                            /s/Robert Lewis, Jr.
                                            ROBERT LEWIS, JR.
                                            Attorney for Debtor
                                            NC Bar # 35806
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